     Case 4:22-cv-00538 Document 46 Filed on 06/26/23 in TXSD Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ELIZABETH ESCOBEDO, Individually §
 and on Behalf of All Others Similarly §
 Situated,                             §
                                       §
            Plaintiffs,                §
 v.                                    §            CIVIL ACTION NO. 4:22-cv-00538
                                       §
 ACE GATHERING, INC.,                  §
                                       §
            Defendant.                 §


             JOINT MOTION TO FURTHER EXTEND CASE DEADLINES


       Plaintiff Elizabeth Escobedo (“Escobedo” or “Plaintiff”) and Defendant Ace Gathering,

Inc. (“Ace” or “Defendant”) file this Joint Motion to Further Extend Case Deadlines, and

respectfully request that the Court extend the remaining case deadlines in the Court’s December

27, 2022 Order Granting Joint Motion to Extend Case Deadlines [Doc. 45] (the “First Extension

Order”) by another 180 days.

       1.      This lawsuit was brought under the Fair Labor Standards Act (“FLSA”). The First

Extension Order in this case currently sets the following remaining deadlines:

                     July 6, 2023: Mediation

                     July 6, 2023: Completion of Discovery

                     July 13, 2023: Pretrial Dispositive Motions Deadline

                     September 13, 2023: Joint Pretrial Order and Motion in Limine Deadline

                     September 20, 2023: Docket Call

       2.      Currently pending before the Court are (1) Ace’s November 13, 2022 Motion for

Reconsideration of Order Denying Motion for Summary Judgment or, in the Alternative, to Certify
      Case 4:22-cv-00538 Document 46 Filed on 06/26/23 in TXSD Page 2 of 3




Order for Interlocutory Appeal [Doc. 37], which was fully briefed as of December 14, 2022 [see

Doc. 43]; (2) Plaintiff’s September 27, 2022 Motion for Certification of Collective Action [Doc.

29],which was fully briefed as of December 7, 2022 [see Doc. 41]; and (3) Plaintiff’s September

27, 2022 Motion for Approval and Distribution of Notice and for Disclosure of Contract

Information [Doc. 30], which was fully briefed as of December 7, 2022 [see Doc. 42].

       3.      Given that the outcome of the foregoing pending motions will have a substantial

impact on subsequent proceedings in this case—including, for example, the necessity and scope

of additional discovery and the potential joining of additional opt-in plaintiffs—there is good cause

to further extend the remaining case deadlines in the scheduling order to permit the Court time to

rule on these motions and, depending on the outcome of same, for the parties to conduct additional

discovery and prepare for trial, if necessary. Therefore, the parties respectfully request that all

remaining deadlines in the First Extension Order be further extended by approximately 180 days.

       4.      All parties to this case join in this request.

       5.      This Motion is not sought for purposes of delay, but so that justice may be done.

       Therefore, the parties respectfully request that the Court further extend the remaining case

deadlines in the First Extension Order by approximately 180 days, as reflected in the proposed

Order being submitted with this Motion.




                                                   2
     Case 4:22-cv-00538 Document 46 Filed on 06/26/23 in TXSD Page 3 of 3




Dated: June 26, 2023

 By: /s/ Colby Qualls (by permission)               By: /s/ Paul M. Knettel
 SANFORD LAW FIRM, PLLC                             Mark D. Temple, attorney-in-charge
 Kirkpatrick Plaza                                  Texas Bar No. 00794727
 10800 Financial Centre Pkwy, Suite 510             Southern District ID No. 19552
 Little Rock, Arkansas 72211                        Peter J. Stuhldreher, of counsel
 Telephone: (501) 221-0088                          Texas Bar No. 24056393
 Facsimile: (888) 787-2040                          Southern District ID No. 699821
                                                    Paul M. Knettel, of counsel
 Josh Sanford                                       Texas State Bar No. 24102031
 Tex. Bar No. 24077858                              Southern District ID No. 3005240
 josh@sanfordlawfirm.com                            Emil M. Sadykhov, of counsel
                                                    Texas Bar No. 24110316
 Colby Qualls                                       Southern District ID No. 3385031
 Ark. Bar No. 2019246                               BAKER & HOSTETLER LLP
 Southern District ID No. 3740180                   811 Main Street, Suite 1100
 colby@sanfordlawfirm.com                           Houston, Texas 77002
                                                    Phone: (713) 751-1600
 Attorneys for                                      Facsimile: (713) 751-1717
 ELIZABETH ESCOBEDO, Individually                   mtemple@bakerlaw.com
 and on Behalf of All Others                        pstuhldreher@bakerlaw.com
 Similarly Situated, PLAINTIFF                      pknettel@bakerlaw.com
                                                    esadykhov@bakerlaw.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    ACE GATHERING, INC.




                               CERTIFICATE OF SERVICE

       In accordance with the Federal Rules of Civil Procedure, I hereby certify that on June 26,
2023, I electronically filed the foregoing with the Clerk of Court by using the CM/ECF system
which will send notice of this filing to all counsel of record:

       Colby Qualls
       Josh Sanford
       Sanford Law Firm, PLLC
       10800 Financial Centre Pkwy, Suite 510
       Little Rock, Arkansas 72211
       colby@sanfordlawfirm.com
       josh@sanfordlawfirm.com

                                                             /s/ Paul M. Knettel
                                                             Paul M. Knettel

                                                3
